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UNITED STATES DlSTRlCT COURT
NORTHERN DISTRICT OF lLLlNOlS

EASTERN DIVISION
UNITED STATES OF AMERICA. )
)
v. )
)
JERMONE BASS, )
Defendant, ) No. 02 CR 854-l
)
and ) Judge George W. Lindberg
)
SCI-TECH, )
)
Garnishee. )

D W RNl N

The United States of America, by ZACl-IARY 'l`. FARD()N_, United States Attorney for
the Northem District of Illinois, and Jermone Bass, the defendant in the above-captioned case,
hereby stipulate and agree as follows:

l. A judgment was entered against the defendant by this Court on July 7_. 2004, in
the amount of $51,725.07. As of May l, 2014, the defendant has an outstanding balance of
$48,973.85.

2. The garnishee, Sci-Tech, has in its possession, custody or control property of the
defendant in the form of wages paid to the defendant, Jermone Bass.

3. The defendant consents to the entry of a Garnishment Order issued to the
garnishee, in the amount of 10% of his disposable income monthly, bi-weekly (every two weeks)
or twice monthly, depending on the payroll calendar of the employer.

4. The defendant agrees and stipulates that his wages are subject to garnishment
under 28 U.S.C. § 3205 and expressly agrees and stipulates that the entry of a Gamishment

Order is proper.

 

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5. The defendant waives service of an application for a writ of continuing
garnishment pursuant to Section 3205 of the Federal Debt Collection Proeedures Act of 1990, 28
U.S.C. § 3205, and further waives the right to a hearing under 28 U.S.C. § 3205 and any other
process to which the defendant may be entitled under the Federal Debt Collection Procedures
Act of 1990.

6. Withholding by the garnishee shall commence the pay period during which the
garnishee receives the Garnishment Order. The deductions shall continue each subsequent pay
period until the balance is paid in full.

7. All payments should have 02 CR 854-l written in the lower left corner of the
check and made payable to the Clerk of the Court, and mailed to:

Clerk of the Court
U.S. District Court, Northern District of lllinois
219 South Dearborn Street, 20th Floor
Chicago, lllinois 60604
8. The defendant agrees to submit a financial statement and copies of federal and
state income tax returns upon the request of the United States Attomey’s OH;ice, until the
restitution is paid in full. The defendant understands that the U.S. Attomey’s office will place
the defendant on the Treasury Offset Program until the judgment is paid in full. The defendant
further agrees to notify the United States Attomey’s Office within thirty days of any change of
address or employment until the judgment is paid in full.
9. The wage garnishment amount may be adjusted after one year, and thereafter
annually, if the defendant's financial statement or other information indicates the ability to
make a higher monthly payment.

10. In the event the defendant defaults on any of the terms of this stipulation, either

by failing to notify the U.S. Attorney's Ofiice of a change in employment or by failing to submit

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financial statements and tax returns within sixty (60) days of the request of the United States
Attomey’s Office, the balance of the judgment, including post judgment interest, shall
immediately become due and payable, and the United States may proceed with all available

administrative and judicial remedies to enforce the judgment debt, upon notice to the defendant

Respectfully submitted,
ZACHARY T. FARDON
United States Attomey

By: s/ Elizabeth A. Wilson
ELIZABETH A. WILSON
Assistant United States Attorney
219 South Dearbom Street
Chicago, lllinois 60604
312-353-5331
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By:_é/§M &EM`

Defendant

 

